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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

LEON CAPITAL GROUP, LLC and LG                  §
OPERATION COMPANY, LLC,                         §
                                                §
                 Plaintiffs,                    §
                                                §
v.                                              §           Civil Action No. 3:24-cv-98-L
                                                §
PRINCETON EXCESS & SURPLUS                      §
LINES INSURANCE COMPANY,                        §
et al.,                                         §
                                                §
                 Defendants.                    §

                                              ORDER

       On November 8, 2024, the Findings, Conclusions and Recommendation of the United

States Magistrate Judge (“Report”) (Doc. 36) was entered, recommending that the court grant

Plaintiffs Leon Capital Group, LLC’s and LG Operating Company, LLC’s (collectively

“Plaintiffs” or “LCG”) Motion to Dismiss Counterclaims (“Motion”) (Doc. 19). The magistrate

judge determined that LCG’s Motion be granted because Defendants Princeton Excess & Surplus

Lines Insurance Company, General Security Indemnity Company of Arizona, Steadfast

Insurance Company, Transverse Specialty Insurance Company, and Accredited Specialty

Insurance Company (collectively “Defendants” or “Arrowhead Insurers”) declaratory actions

are mirror images of LCG’s claims.

       No objections have been filed, and the 14-day period to object after service of the Reports

has expired. Fed. R. Civ. P. 72(b)(1)(2); 28 U.S.C. § 636(b)(1)(C). For the reasons stated herein,

the court accepts the Report.




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       The Arrowhead Insurers request four different declarations under the Federal Declaratory

Judgment Act. Report 3 (citation omitted). Magistrate Judge Brian McKay determined that the

declaratory judgment counterclaims should be dismissed as duplicative and redundant of LCG’s

breach of contract claim. Report 8. The magistrate judge held that Arrowhead Insurers’ first

requested declaratory judgment duplicates an action already pending before the court and that

having a separate declaratory action would be redundant. Id. at 8-9.

       Second, the magistrate judge determined that Arrowhead Insurers’ second requested

declaratory judgment duplicates an action already pending before the court. Report 9. The

magistrate judge concluded that because the court will already have to determine which

documents are part of the contract, the declaration does not introduce any new facts or issues.

Report 10. As a result, he determined that it is a mirror image of LCG’s breach of contract claim.

Id. Further, the magistrate judge rejected Defendants’ request that the court declare a potential

damages limit under the policy because this declaratory action is duplicative of a dispute already

pending before the court and should be dismissed. Report 10-11 (citation omitted).

       Third, the magistrate judge concluded that Arrowhead Insurers’ third requested

declaratory judgment duplicates an action already pending before the court. Report 11. In the

third request, Defendants request that the court declare that “the applicable deductible for LCG’s

covered theft claims is 20% of the $100,000.00 ($20,000.00) per occurrence for Vacant

Locations.” Report 11 (citation omitted). Magistrate Judge McKay determined that this

counterclaim was likewise duplicative of a claim already before the court and should be

dismissed as redundant. Id. (citation omitted).




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       Fourth, the magistrate judge determined that Arrowhead Insurers’ fourth requested

declaratory judgment duplicates an action already pending before the court. Report 11. As it

relates to the fourth request, the magistrate judge held the following:

               All four requested declarations, (Id.), require the Court to interpret the
       contract to determine how much the Arrowhead Insurers could be liable for under
       the policy. The potential liability amount is directly linked to a party’s potential
       obligations under a contract; as already discussed above, these issues are already
       pending before the Court. Therefore, the counterclaim should be dismissed. See
       Fed. Nat. Mortg. Ass’n v. K.O. Realty, Inc., No. 3:13-CV-2781-L, 2014 WL
       3900619, at *9 (N.D. Tex. Aug. 8, 2014) (“[D]istrict courts in this Circuit
       regularly reject declaratory judgment claims seeking resolution of issues that are
       the mirror image of and will be resolved as part of other claims in the lawsuit.”)
       (citing American Equip. Co., Inc. v. Turner Bros. Crane and Rigging, LLC, No.
       4:13–CV–2011, 2014 WL 3543720, at *4 (S.D. Tex. July 14, 2014)).

Report 12. Magistrate Judge McKay concludes that because all of the Arrowhead Insurers

declaratory judgment actions are mirror images of LCG’s claims, they do not serve the purpose

of judicial economy. Id.

       Finally, the magistrate judge recommends that the court decline to re-label the

Arrowhead Insurers counterclaims as additional defenses. Report 13. Magistrate Judge McKay

determined that the Arrowhead Insurers have already pled condition precedent as a defense in

their original answer; thus, there is no need for the court to re-label the first declaration. Report

13 (citation omitted).

       Having considered the file, record in this case, and Report, the court determines that the

findings and conclusions of the magistrate judge are correct, and accepts them as those of the

court. Accordingly, the court grants Plaintiffs’ Motion to Dismiss Counterclaims (Doc. 19), and

dismisses all counterclaims asserted by Defendants.




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       It is so ordered this 25th day of November, 2024.



                                                  _________________________________
                                                  Sam A. Lindsay
                                                  United States District Judge




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